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                 UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF OKLAHOMA



VANCE DOTSON                             )JURY TRIAL DEMANDED
          Plaintiff,                     )
                                         )
V.                                       ) Case No. CIV-22-029-D
                                         )
TRANSWORLD SYSTEMS INC., and             )
WORKS & LENTZ,INC., and BULL CITY )
FINANCIAL SOLUTIONS and PHOENIX )
FINANCIAL SERVICES,LLC., and             )
HEALTHCARE REVENUE RECOVERY              )
GROUP,LLC;, d/b/a ARS ACCOUNT            )                    FEB 01 202Z
RESOLUTION SERVICES.,                    )             CARMEUTA REEQER SHINN,CLERK
                                                             ^C^RTrv^STERN
          Defendant.




      AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL


                         I.    INTRODUCTION

1.   This is an action for actual and statutory brought by Plaintiff Vance

     Dotson 'an individual consumer, against Defendants, Transworld

     Systems Inc., C'TSI"), Works & Lentz, Inc.,("Works & Lentz"), Bull City
     Financial Solutions ("BCFS"), Phoenix Financial Services, LLC.,

     ("PFS")'and Healthcare Revenue Recovery Group, LLC., d/b/a ARS

     Account;Resolution Services., ("ARS") for violations of the Fair Debt
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     Collection Practices Act, 15 U.S.C § 1692 et seq.(hereinafter FDCPA ),
     which prohibits debt collectors from engaging in abusive, deceptive, and

     unfair practices.

                   II.   JURISDICTION AND VENUE

2.   Jurisdiction of this court arises under 15 U.S.C § 1692k(d) 28 U.S.C

     1331. Venue in this District is proper in that the Defendants transact

     business in Oklahoma City, Oklahoma County, Oklahoma, and the

     conduct.complained of occurred in Oklahoma City, Oklahoma County,

     Oklahoma.


                              III.   PARTIES


3.   Plaintiff, Vance Dotson (hereinafter "Mr. Dotson") is a natural person
     residing,in Oklahoma City, Oklahoma County, Oklahoma. Mr. Dotson

     is a consumer as defined by the Fair Debt Collection Practices Act, 15

     U.S.C. §1692a(3). Mr. Dotson has been assigned 100 percent of these

     claim(s) above from Denae Parker.

4.   Upon information and belief. Defendant Transworld Systems Inc., is a

     Missouri corporation with its principal place of business located at 2135

     E Primrose St, Springfield, MO 65804.
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5.   Upon iriformation and belief, Defendant Works & Lentz, Inc., is a

     Oklahoma corporation with its principal place of business located at

     3030 Northwest Expy #1300, Oklahoma City, OK 73112.

6.   Upon information and belief. Defendant Bull City Financial Solutions

     is a North Carolina corporation with its principal place of business

     located at 2609 N Duke St #500, Durham, NC 27704.

7.   Upon information and belief. Defendant Phoenix Financial Services,

     LLC., is a Indianapolis corporation with its principal place of business

     located sit 8902 Otis Avenue, Indianapolis, IN 46216.

8.   Upon information and belief. Defendant Healthcare Revenue Recovery

     Group, LLC., d/b/a ARS Account Resolution Services., is a Florida

     corporatjion with its principal place of business located at 1643
     Harrison Pwky Ste., 100 Bldg H, Sunrise, FL 33323.

9.   Defendants Transworld Systems Inc., Works & Lentz, Inc., Phoenix

     Financial Services, LLC., Healthcare Revenue Recovery Group, LLC.,

     d/b/a ARS Account Resolution Services., and Bull City Financial

     Solutions is engaged in the collection of debt from consumers using the

     mail an^ telephone. Defendant regularly attempt to collect consumers'

     debts alleged to be due to another's.

                   IV.    FACTS OF THE COMPLAINT
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10.   Defendants Transworld Systems Inc., Works & Lentz, Inc., Phoenix

      Financial Services, LLC., Bull City Financial Solutions and Healthcare

      Revenue Recovery Group, LLC., d/b/a ARS Account Resolution

      Services., (hereinafter referred to as "Debt Collector") is a "debt
      collector" as defined by the FDCPA, 15 U.S.C 1692a(6).

11.   On or about August 27, 2021, Ms. Parker reviewed her credit report on

      "credit karma."
              y.



12.   On the ^report, the Ms. Parker observed a trade lines from all Debt

      Collectors.


13.   Debt Collector (Transworld Systems Inc.,) furnished a trade line of

      $548, allegedly owned to SSM Health St Anthony Hospital.

14.   Debt Collector (Works & Lentz, Inc.,) furnished twenty-six trade lines

      of $80, $80, $80, $80, $80, $80, $80, $80, $80, $80, $224, $300, $461,

      $461, $461, $461, $623, $623, $775, $775, $777, $1,324, $2,050, $2,310,

      $2,310, ^4,388 allegedly owned to Norman Regional Health System.
15.   Debt Cgllector (Phoenix Financial Services, LLC.,) furnished a trade

      line of $687 allegedly owned to Emergency Physicians of Mid.

16. Debt Collector (Bull City Financial Solutions) furnished a trade line of
      $263 allegedly owned to OU Physicians.
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17.   Debt Collector (Healthcare Revenue Recovery Group, LLC., dA)/a ARS

      Account^ Resolution Services.,) furnished four trade lines of $1,231,

      $1,172, $824, allegedly owned to Emer Svc of Oklahoma and $757,

      allegedly owned to Emer Phys of Mid America PC.

18.   Also on August 27, 2021, (Transworld Systems Inc.,), (Healthcare

      Revenue Recovery Group, LLC., d/b/a ARS Account Resolution

      Services., $1,172 and $824),(Works & Lentz, Inc., $2,310, $1,324 $623,

      $623, $777) Plaintiff made a dispute via telephone, however on January

      7, 2022 Plaintiff re-checked her credit reports and Debt Collector failed

      to communicate that the debt was disputed the Plaintiff disputed.

19.   Defendant materially lowered Plaintiffs credit score by failing to note

      Plaintiff's dispute.

20.   A debt reported without dispute results in a much lower credit score

      than a yeport of both the debt and the dispute. Saunders v. Branch

      Banking and Trust Co. of VA, 526 F. 3d 142, 146-47 (4th Cir. 2008).

21.   Debt Collector (Phoenix Financial Services, LLC.,) reported an open

      date on fthe listed trade lines to be September 20, 2020 for trade line in

      the amount of $687. The open date and date of service is February 3,

      2015. Therefore, the Debt Collector reported false and different
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      open/defaulted dates when the Debt Collector knew of the correct

      open/defaulted dates from its own records.


22.   Debt Collector (Bull City Financial Solutions) reported an open date on

      the listed trade lines to be November 3, 2020 for trade line in the

      amount of $263. The open date and date of service is December 5, 2019.

      Therefore,    the   Debt   Collector   reported   false   and    different
              jj.

      open/defaulted dates when the Debt Collector knew of the correct

      open/defaulted dates from its own records.


23.   Debt Collector (Healthcare Revenue Recovery Group, LLC., d/b/a ARB

      Account Resolution Services.,) reported an open date on the listed trade

      lines to be May 19, 2020 for trade line in the amount of $1,231. The

      open date and date of service is March 25, 2019. Also (Healthcare

      Revenue Recovery Group, LLC., d/b/a ARB Account Resolution

      ServiceSp) reported an open date on the listed trade lines to be
      February 20, 2019 for trade line in the amount of $757. The open date

      and datie of service is January 7, 2018. Therefore, the Debt Collector

      reported false and different open/defaulted dates when the Debt

      Collector knew of the correct open/defaulted dates from its own records.




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24.   Debt Collector (Works & Lentz, Inc.,) reported an open date on the

      listed ten trade lines from May 04, 2020 to May 26, 2020 for trade lines

      in the amount of $80. The open date and date of service range from

      August 21, 2019 to January 8, 2020. Therefore, the Debt Collector

      reported false and different open/defaulted dates when the Debt

      Collector knew of the correct open/defaulted dates from its own records.


25.   Debt Collector (Works & Lentz, Inc.,) reported an open date on the

      listed trade lines from $4,388 (open date August 02, 2019), $2,310(open

      date May 18, 2020), $2,050 (open date May 06, 2019), $224 (open date
      May 18, 2020), $300 (open date October 18, 2019), $461 (open date May

      26, 202(3), $461 (open date May 26, 2020), $461 (open date May 26,

      2020), $461 (open date May 26, 2020), $775 (open date May 26, 2020),
      $775 (open date May 26, 2020), $777 (open date February 13, 2020),
      $1,324 (open date April 27, 2020), $2,050 (open date May 06, 2019),
      $2,310 (open date May 18, 2020), $2,310 (open date May 18, 2020),
      $4,388 August 02, 2019) Therefore, the Debt Collector reported false

      and diffi^rent open/defaulted dates when the Debt Collector knew of the

       correct open/defaulted dates from its own records.
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26.   Debt Collector's materially lowered Ms. Parker credit score by

      reporting false information to consumer reporting agencies.

27.   Debt Collector's publishing of such inaccurate and incomplete

      information has severely damaged the FICO Scores, personal, credit

      reputation of Ms. Parker and caused severe humiliation, and emotional
      distress,and mental anguish.

                      V.    FIRST CLAIM FOR RELIEF
  (Defendant's Transworld Systems Inc., Works & Lentz,Inc., Healthcare
  Revenue Recovery Group,LLC., d/b/a ARS Account Resolution Services.,)
                              15 U.S.C. §1692e(8)

28.   Mr. Dotson re-alleges and reincorporates all previous paragraphs as if

      fully setWt herein.

29.   The Debt Collector's violated the FDCPA.

30.   The Debt Collector's violations include, but are not limited to, the

      following-

      The Debt Collector's violated 15 U.S.C § 1692e(8) of the FDCPA by

      failing to disclose to the consumer reporting agencies that alleged debt

       was in dispute by Ms. Parker.

             I    VI. SECOND CLAIM FOR RELIEF
    (Defendant's Works & Lentz,Inc., Phoenix Financial Services, LLC.,
  Healthcare Revenue Recovery Group,LLC., d/b/a ARS Account Resolution
                   Services., and Bull City Financial Solutions)
                     15 U.S.C. §1692e(8) 15 U.S.C. §1692e(2)


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31.     Mr. Dotson re-alleges and reincorporates all previous paragraphs as if

        fully set out herein.

32.     The Debt Collector's violated the FDCPA.

33.     The Debt Collector's violations include, but are not limited to, the

        following-

      The Debt Collector's violated 15 U.S.C § 1692e(8) 15 U.S.C. §1692e(2)
        of the FDCPA by reporting to a third party (consumer reporting

        agencies) false information when it knew from its own records the true

        open da^e.

34.     As a result of the above violations of the FDCPA, the Defendants are

        liable toThe Mr. Dotson actual damages, statutory damages and cost.

               VJ.   JURY DEMAND AND PRAYER FOR RELIEF

        WHEREFORE,Plaintiff Mr. Dotson respectfully demands a jury trial

and requests that judgment be entered in favor of Plaintiff and against the

Debt Collector^ for-


      A. Judgment for the violations occurred for violating the FDCPA;

      B. Actual damages pursuant to 15 U.S.C 1692k(l)(2);

      C. Statutory damages pursuant to 15 U.S.C 1692k(2);

      D. Cost pursuant to 15 U.S.C 1692k(3);

      E. For deletion and further relief as the Court may deem just and proper.
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                                          Respectfully submitted-




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vaiicedotson@yahoo.cpm (email)




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                          ASSIGNMENT OF CLAIM FOR DAMAGES
         FOR VALUE RECEIVED.           .Oi rtjLr    ("Assignor"),
        '"'dress is2(;'2QKp jjr /Tl p h/C        CW
 transfers 100«/o interest to Vance Dotson ("Assignee"), whose address is 425 W. Wilshire Blvd
 ste.,E,Oklahoma City,OK 73116,and its successors, assigns, and personal representatives, any
 and all claims, demands, and cause or causes of action of any kind whatsoever, which the
 undersigned has or may have against any person or persons arising from the following types of
claims:
              t /•



    1. the Fair Credit Reporting Act("FCRA"), 15 U.S.C. §§ I68l-I68lx;
    2. the Fair Debt Collection Practices Act("FDCPA"), 15 U.S.C. §§1692-1692p,
    3. Uniform Commercial Code, Article 9, Part 6,
    4. the Real Estate Settlement Procedures Act("RESPA"), 12 U.S.C. §§ 2601-2617, and
    5. any a,,plicable state laws related to a consumer law, tort, and negligence legal claims.
       The Assignee may in its own name, or under the Assignor's name,and for its own benefit
prosecute, collect, settle, compromise, and grant releases on said claim(s) in its sole discretion
deems advisajile. Signature or action on this Assignment by Assignee constitutes acceptance. Your
assistance is needed until the closing of the case.
       Signed under seal on the date indicated below.
ASSIGNOR



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                                                           D^te     ^
